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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA




M.G.U., et al.,
                         Plaintiff, v.                  Civil Action No. 1:18-cv-1458 (PLF)

KIRSTJEN NIELSEN, et al.,

                         Defendants.




                      PLAINTIFFS’ SUPPLEMENTAL STATUS REPORT

         Without affecting any substance of the status report that Plaintiffs filed earlier today as

Dkt. No. 40, Plaintiffs attach the July 13, 2018 declaration of Ashley Martinez only to ensure

that the Court has full answers to its questions at the July 12, 2018 hearing concerning the

provenance of the July 11 declarations filed in this case as Dkt. Nos. 36-3 and 38-1.

                                                      Respectfully submitted,


Dated:            July 13, 2018
                                                      TEXAS RIOGRANDE LEGAL AID, INC.

                                                        /s/ Jerome Wesevich
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                                                  Attorneys for Plaintiffs


                                CERTIFICATE OF SERVICE

               Pursuant to LCvR 5.3, I hereby certify that, on July 13, 2018, I caused to be

electronically filed a copy of the foregoing document to be served on all counsel of record using

the Court’s CM/ECF system.

                                               /s/ Jerome Wesevich
                                             Jerome Wesevich (D.D.C. Bar No. TX0125)
